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                      SO ORDERED: May 23, 2014.




                             ______________________________
                             Basil H. Lorch III
                             United States Bankruptcy Judge




                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION

   IN RE:                                            )
            VINCENT B. TERRY                         ) CASE NO. 14-70348–BHL-13
                                                     )
                 DEBTOR(S)                           )

                                  ORDER OF CONFIRMATION

          This case coming on for confirmation of Debtor[s] plan/amended plan as filed March 26,
  2014 (Doc. # 6) (“Plan”), a hearing being properly noticed and held, and the Trustee making his
  report, the Court now finds as follows:

         (1)    The Debtor[s] have filed a plan under 11 USC § 1321;

         (2)     The Trustee has held a first meeting of creditors pursuant to 11 USC § 341, with
         notice to all creditors as listed by Debtor[s];

         (3)     The Trustee has filed his Report of Chapter 13 Trustee, reporting that Debtor[s] are
         eligible for relief under Chapter 13; that their plan appears reasonable and feasible; and that
         the plan is proposed in good faith and in all respects complies with the requirements of the
         Bankruptcy Code;

         (4)    The treatment of secured claims as listed in Debtor[s] plan is:

CREDITOR              COLLATERAL          REPLACEMENT            TREATMENT
                                               VALUE
Bank of America Mortgage, residence       $53,600.00  Current payment by Trustee w/pre-
                                                      petition arrearage @ 0% APR
Alstadt Plumbing Judgment lien, residence $53,600.00  To be avoided by a separate motion
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Schroeder’s       Judgment lien, residence $53,600.00              To be avoided by a separate motion
Plumbing


         (5)   The parties appearing at the first meeting of creditors have agreed to the following
         immaterial modifications:

                 None.

         (6)    The Plan, in addition to the usual provisions, also has the following special
         provisions:

                 Secured creditors shall receive only adequate protection payments until
                 administrative claims are paid in full.

         (7)    The Debtor[s] will be able to make all payments under the Plan and to comply with
         the Plan provisions.

         THEREFORE, it is now ORDERED that:

         (1)    The Plan of Debtor[s] is hereby confirmed;

         (2)    Under the confirmed order, Debtor[s] are required to make the following payments to
         the Trustee:

                         $500.00 per month for 60 months for a total of $30,000.00

         and in addition shall make such additional payments as required to pay costs of
         administration asserted by the Clerk of the Court or otherwise ordered by the Court;

         (3)    The replacement value of the collateral supporting the secured claims is as stated
         above;

         (4)    The Trustee is authorized to make reasonable deferrals of regular plan payments,
         including refunds of amounts paid by wage withholding orders, without additional motion or
         authorization of the Court.

         (5)    Pursuant to §1305, the Trustee shall approve or disapprove a post-petition
         indebtedness request based on standards appropriate to the circumstances. If the request is
         not approved, the debtor may file a motion to incur post-petition debt with the Court.

         (6)     To the extent necessary to effectuate the terms of Debtor[s] plan, the Debtor[s]
         income and other assets remain property of the estate, including after-acquired property as
         stated in 11 USC §1306.

         (7)    Other terms of confirmation:

                 None.
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